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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    Legacy IMDBS, Inc., et al.,1                           Case No. 23-10852 (KBO)

                            Debtors.                       Jointly Administered


    Synacor, Inc.,

                            Plaintiff,                     Adversary Proceeding No. 23-50753 (KBO)

    v.

    IV Media, LLC; Innovation Ventures, LLC;
    Portal Acquisition Co.; iMedia Brands, Inc.;
    ValueVision Interactive, Inc.; VVI Fulfillment
    Center, Inc.; ValueVision Retail Inc.; JWH
    Acquisition Company; PW Acquisition
    Company, LLC; EP Properties, LLC; FL
    Acquisition Company; Norwell Television,
    LLC; 867 Grand Avenue, LLC; and
    Unidentified Parties, 1-25,

                            Defendants.


                      STIPULATION FOR EXTENSION OF TIME TO
                RESPOND TO COMPLAINT FOR DECLARATORY JUDGMENT

             IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Synacor, Inc.

and Defendants IV Media, LLC and Innovation Ventures, LLC (together, the “Defendants”) that

Defendants’ time within which they must respond to the Complaint for Declaratory Judgment




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); Legacy IMBDS, Inc. (3770); ValueVision Interactive, Inc.
(8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155);
JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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filed in the above-captioned adversary proceeding is extended through and including January 4,

2024. The Defendants acknowledge the sufficiency of service and service of process.


 GIBBONS P.C.                                   GREENBERG TRAURIG, LLP

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 Christopher Viceconte (No. 5568)               Dennis A. Meloro (No. 4435)
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 Counsel for the Plaintiff

 Dated: December 6, 2023                        Dated December 6, 2023
